Case 2:20-cv-00396-JLB-NPM Document 81-1 Filed 12/01/21 Page 1 of 21 PagelD 699

Rev. 5/20

United States District Court
Middle District of Florida
Fort Myers Division

Jim mr| lee Keo +

(In the space above enter the full legal name of the plaintiff)

-against-

Te Trey Robinson , f slonel . Charlo de EF. .
/ }—. } Case No. 2!40-ty- 039
Vincent Nociega, Lt. , Charlotte ¢.F. (Tobe filled out by Clerk’s

. Office only)

Stephen Cabemana , Sgt. Charloite Cf: “oy
Ray mond Wald-onJ ; OFFicec, thaclotte Ct.
Offices Harden (FU) offices, charlotte CL.

COMPLAINT
(Pro Se Confined Litigant)

Jury Demand?

(in the space above enter the full name(s) of the defendant(s). wes
Ifyou cannot fil the names of all of the defendants in the

space provided, please write “see attached” in the space

above and attach an additional sheet of paper with the full list

of names. The names listed in the above caption must be

identical to those contained in Section IV. Do not include

addresses here.)
3d Amended 42 US.C.A
§ 1193

NOTICE

 

 

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should nos
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the last
four digits of a social security number; the year of an individual's birth; a minor’s initials; and
the last four digits of a financial account number.

Plaintiff need not send exhibits, affidavits, grievance or witness statements, or any other
materials to the Clerk’s Office with this complaint.

 

 

Page 1 of 10

 
_ Case 2:20-cv-00396-JLB-NPM Document 81-1 Filed 12/01/21 Page 2 of 21 PagelD 700

Rev. 5/20

I. COMPLAINT

Indicate below the federal legal basis for your claim, if known. This form is designed primarily
for pro se confined litigants challenging the constitutionality of their conditions of confinement,
claims which are ofien brought under 42 U.S.C. § 1983 (against state, county, or municipal
defendants) or ina “Bivens” action (against federal defendants).

[fy 42U.S.C. § 1983 (state, county, or municipal defendants)

0 Action under Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971)
(federal defendants)

II. PLAINTIFF INFORMATION

Ycot + , Jima L.

Name (Last, First, MI) { Aliases

X253495

Identification #

Be aiona | Me olital lentes (2m.0.) —- Maia Unit

Place of Detention

P. 6. Boy b6A3

Institutional Address

Lalee Butler [avon to.) F lowda 32054

 

County, City State Zip Code
I. STATUS

Indicate whether you are a prisoner or other confined person as follows:
Pretrial detaince

Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner

oOgdod

Convicted and sentenced federal prisoner

Page 2 of 10
Case 2:20-cv-00396-JLB-NPM Document 81-1 Filed 12/01/21 Page 3 of 21 PagelD 701

Rev, 5/20

IV. DEFENDANT(S) INFORMATION

Please list the following information for each defendant. If the correct information is not
provided, it could result in the delay or prevention of service. Make sure that the defendant(s)
listed below are identical to those contained in the above caption, Attach additional sheets of

paper as necessary,

Defendant |: f binSon ) Je Heey

Name (Last, irst)

Assis ae WardeJ at Sunt Kosa OL.

Current Job Title

5350 Fast lors Roa ol

Current Work Address

Milton [o.. Santa Rose FL. 3203 5

County, City State Zip Code

Defendant 2: N ole GR } Vin cent

 

Name (Last, Mirst)

breuteaont at Charlotte é.T,

Current Job Title

33123 Pilwell Red

Current Work Address

tharlodte, Purte boda, FL. 33455"

County, City State Zip Code

Page 3 of 10
Case 2:20-cv-00396-JLB-NPM Document 81-1 Filed 12/01/21 Page 4 of 21 PagelD 702

 

 

 

 

Rev. 5/20
Defendant(s) Continued
Defendant 3: bahe Maa) }- stephen
Name (Last, I"irst)
Caplain at Charlotte Li.
Current Job Title
33123 Oilwell Rol.
Current Work Address
tharlotle , Paake borgla _ FL. 334955
County, City State Zip Code

Defendant 4: Walton 3 Kaym on P|

Name (Last, First)

focrectrona | DFFicer et thar loHe “.L.

Current Job Title

33183 Oilwell RA

Current Work Address

thaclotte , Prats horde Fl, 334955

County, City State Zip Code

[Additional Defendants Must Be Listed on a Separate Sheet Titled Section 1V]

Page 4 of 10
Case 2:20-cv-00396-JLB-NPM Document 81-1 Filed 12/01/21 Page 5 of 21 PagelD 703

Rev. 5/20

V. STATEMENT OF CLAIM

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Date(s) of occurrence: Detem ber 4 6 , a0l Ys

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State here briefly the FACTS that support your case. See Fed. R. Civ. P. 8. Describe how each
defendant was personally involved in the alleged wrongful actions, state whether you were
physically injured as a result of those actions, and if so, state your injury and what medical
attention was provided to you. All facts shall be set forth in separately numbered paragraphs.
See Fed. R. Civ. P. 10(b).

FACTS:
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Page 5 of 10
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Rev. 5/20

 

 

 

 

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[Additional Facts Must Be Set Forth in an Attachment Titled Section V|

Page 6 of 10
Case 2:20-cv-00396-JLB-NPM Document 81-1 Filed 12/01/21 Page 7 of 21 PagelD 705

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Page 7 of 10
_ Case 2:20-cv-00396-JLB-NPM Document 81-1 Filed 12/01/21 Page 8 of 21 PagelD 706

Rev. 5/20

VI. ADMINISTRATIVE PROCEDURES

WARNING: Prisoners must exhaust administrative procedures before filing an action in federal
court about prison conditions. 42 U.S.C. § 1997e(a). Your case may be dismissed if you have not
exhausted your administrative remedies.

VH. RELIEF

State briefly what you want the court to do for you. Make no legal arguments. Cite no cases or
Statutes.

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Page 8 of 10
Case 2:20-cv-00396-JLB-NPM Document 81-1 Filed 12/01/21 Page 9 of 21 PagelD 707

Rev. 5/20

VII. LITIGANT’S LITIGATION HISTORY

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in forma
pauperis in federal court if that prisoner has “on three or more occasions, while incarcerated or
detained in any facility, brought an action or appeal in a court of the United States that was
dismissed on the grounds that it is frivolous, malicious, or fails to state a claim upon which relief
may be granted, unless the prisoner is under imminent danger of serious physical injury,” 28
US.C. §1915(g)

ALL LITIGANTS MUST ANSWER:.

Have you to date brought any other lawsuits in state or federal court while © Yes [No
a confined? ,

If yes, how many?

Number each different lawsuit below and include the following:

e Name of case (including defendants’ names), court, and docket number

e Nature of claim made

e How did it end? (For example, if it was dismissed, appealed, or Is still pending, explain
below.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page 9 of 10
Case 2:20-cv-00396-JLB-NPM Document 81-1 Filed 12/01/21 Page 10 of 21 PagelD 708

Rev. 5/20

IX. PLAINTIFF’S DECLARATION AND WARNING

Under Federal Rule of Civil Procedure 11. by signing below, J certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary dclay, or needlessly increase the cost of litigation,
(2) is supported by existing law or by a nontrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

] agree to provide the Clerk's Office with any changes to my address where case-related papers
may be served. I understand that my failure to keep a current address on file with the
Clerk's Office may result in the dismissal of my case.

Plaintiff must sign and date the complaint and provide prison identification number and prison

address.

 

 

Dated Plaintiffs Signature

Keott. Jimmy L,

Printed Name (Last, First, MI)

XA5S495~

Identification #

Bl. -Man Urt bake Buller, FL 32054

Institutional Name City State Zip Code

Page 10 of 10
Case

2:20-cv-00396-JLB-NPM Document 81-1 Filed 12/01/21 Page 11 of 21 PagelD 709

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2:20-cv-00396-JLB-NPM Document 81-1 Filed 12/01/21 Page 15 of 21 PagelID 713

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20-cv-00396-JLB-NPM Document 81-1 Filed 12/01/21 Page 16 of 21 PagelD 714

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20-cv-00396-JLB-NPM Document 81-1 Filed 12/01/21 Page 20 of 21 PagelD 718

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Reliet VII.

Crobiauel’

For y'elatins the Plaint tls gv Amenidlanvad- Rights
by ai ns +o ar Whew oth ters Galea ann,
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orce ” against Plain ti fl ieaeny hee Broth, enh
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50, 000. ao jn Punitinre dameses yoiatly aa
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Fer violoting the Plenitl's 88 Amanidmert Rights
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Halls hy interiege in 6 vey thel whuldl haut
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Rshts 7 the Plaintif { reg vests * 50 , 000. 14
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Keott's 1S Amend ment Rshts .

Machmer’ Pace N of i
